               Case 1:09-cv-02024-LJO-BAM Document 94 Filed 10/09/09 Page 1 of 3


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           8                                    UNITED STATES DISTRICT COURT
           9                                    EASTERN DISTRICT OF CALIFORNIA
          10                                                          1:09-cv-407 OWW GSA
               THE DELTA SMELT CASES,                                 1:09-cv-422 OWW GSA
          11                                                          1:09-cv-631 OWW GSA
                  SAN LUIS & DELTA-MENDOTA WATER                      1:09-cv-892 OWW GSA
          12      AUTHORITY, et al. v. SALAZAR, et al.                PARTIALLY CONSOLIDATED
                  (Case No. 1:09-cv-407)                              WITH: 1:09-cv-480 OWW GSA
          13
                  STATE WATER CONTRACTORS v. SALAZAR,
          14      et al. (Case No. 1:09-cv-422)                       ORDER RE 706 EXPERT(S)
          15      COALITION FOR A SUSTAINABLE DELTA,
                  et al. v. UNITED STATES FISH AND WILDLIFE
          16      SERVICE, et al. (Case No. 1:09-cv-480)              Date:    October 2, 2009
                                                                      Time:    1:30 p.m.
          17      METROPOLITAN WATER DISTRICT v.                      Ctrm:    3
                  UNITED STATES FISH AND WILDLIFE                     Judge:   Hon. Oliver W. Wanger
          18      SERVICE, et al. (Case No. 1:09-cv-631)
          19      STEWART & JASPER ORCHARDS, et al. v.
                  UNITED STATES FISH AND WILDLIFE
          20      SERVICE, et al. (Case No. 1:09-cv-892)
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               ORDER RE 706 EXPERT(S)
               CASE NO. 1:09-CV-00407 OWW GSA
               sf-2748739
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               Case 1:09-cv-02024-LJO-BAM Document 94 Filed 10/09/09 Page 2 of 3


           1            On October 2, 2009, the Court heard the parties’ submissions, as ordered by the Court,

           2   concerning the appointment of a Federal Rule of Evidence 706 expert(s) by the Court. Plaintiffs,

           3   along with California Department of Water Resources and Lester Snow, Director, California

           4   Department of Water Resources (“DWR”), supported the appointment of a 706 expert and jointly

           5   nominated three individuals for the Court’s consideration. Doc. # 267, 268. Federal Defendants

           6   and Defendant-Intervenors opposed the appointment of a 706 expert, but Federal Defendants

           7   nominated one individual, and Defendant-Intervenors nominated two individuals, for the Court’s

           8   consideration if the Court elected to appoint a 706 expert. Doc. # 266, 269. Plaintiffs and DWR

           9   raised specific objections to the nominees of the Federal Defendants and Defendant-Intervenors
          10   on the ground that, inter alia, each of those individuals was disqualified for bias and conflict of
          11   interest by virtue of their extensive prior involvement in the academic or agency Bay-Delta
          12   research community. Doc. # 310, 311, 312. Federal Defendants and Defendant-Intervenors did
          13   not raise specific objections to the individuals nominated by Plaintiffs and DWR, but continued to
          14   oppose the appointment of any 706 expert. Doc. # 307, 308.
          15            The Court has fully considered the briefs, evidence, and oral arguments submitted by the
          16   parties, and good cause appearing therefore, THE COURT HEREBY ORDERS:
          17            1.      The Court conditionally finds that appointment of a 706 expert(s) would be helpful
          18   to the Court and is appropriate in light of the complex technical and scientific matters that are
          19   central to this case. The Court will make a final determination on the appointment of a 706
          20   expert(s) after it has reviewed declarations submitted by the parties’ experts, as authorized by the

          21   Court.

          22            2.      By October 14, 2009, the parties shall propose a 706 expert(s), or inform the Court

          23   that they cannot reach agreement. If the parties cannot reach agreement, Plaintiffs and DWR, as

          24   one “side,” and Federal Defendants and Defendant-Intervenors, as the other “side,” shall each

          25   present three nominations to the Court, also by October 14, 2009.

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               ORDER RE 706 EXPERT(S)
               CASE NO. 1:09-CV-004070 OWW GSA
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               sf-2748739
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               Case 1:09-cv-02024-LJO-BAM Document 94 Filed 10/09/09 Page 3 of 3


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               Dated: October 8, 2009                  /s/ OLIVER W. WANGER
           3                                           OLIVER W. WANGER
                                                       U.S. District Court Judge
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               ORDER RE 706 EXPERT(S)
               CASE NO. 1:09-CV-004070 OWW GSA
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               sf-2748739
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